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10

11                                   UNITED STATES DISTRICT COURT

12                                  EASTERN DISTRICT OF CALIFORNIA

13
      THE PRUDENTIAL INSURANCE                          )   No. 1:24-cv-01102-KES-SAB
14    COMPANY OF AMERICA, et al.,                       )
                                                        )   [PROPOSED] ORDER
15                    Plaintiffs,                       )   AUTHORIZING ENGAGEMENT
                                                        )   AND COMPENSATION OF
16               v.                                     )   CAPSTONE CAPITAL MARKETS
                                                        )   LLC AS INVESTMENT BANKER
17    ACDF, LLC, et al.                                 )
                                                        )
18    Defendants.                                       )
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           Designated as counsel for service pursuant to L.R. 182(c)(1).

     302491294
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 1               On ________ __, 2025, before the Honorable Kirk E. Sherriff, United States District Judge,

 2    a hearing was held on the Unopposed Motion of Receiver Lance Miller for Order Authorizing

 3    Engagement and Compensation of Capstone Capital Markets LLC as Investment Banker;

 4    Memorandum of Points and Authorities in Support Thereof (the “Motion”). Counsel served

 5    appropriate notice on all interested parties and no objections were filed. At the hearing, no

 6    objections were stated on the record.

 7               Based upon the Motion and related declarations, and the record before the Court, it appears

 8    that Capstone Capital Markets LLC is qualified and eligible to be employed as the Receiver’s

 9    investment banker. Accordingly,

10               IT IS ORDERED that the Motion is granted and Lance Miller, the Receiver in the above-

11    referenced case, is authorized to retain and compensate Capstone Capital Markets LLC as his

12    investment banker pursuant to the terms of the Engagement Letter.

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15    Dated: __________________

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17                                                            __________________
18                                                            Hon. Kirk E. Sherriff
                                                              United States District Court
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                                           No. 1:24-cv-01102-KES-SAB
        [PROPOSED] ORDER AUTHORIZING ENGAGEMENT AND COMPENSATION OF CAPSTONE CAPITAL MARKETS LLC AS
                                            INVESTMENT BANKER
     302491294
